Case 2:17-cv-13877-SJM-MKM ECF No. 40, PageID.1007 Filed 07/25/19 Page 1 of 15




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

  ELDREED BERRY, et al.,
                                              Case No. 2:17-cv-13877
               Plaintiffs,
                                              HONORABLE STEPHEN J. MURPHY, III
  v.

  LYNN MOORE, et al.,

               Defendants.
                                  /

                   OPINION AND ORDER GRANTING
           DEFENDANTS' MOTION FOR SUMMARY JUDGMENT [33]

        On November 30, 2017, Plaintiffs Eldreed Berry, Ruth Berry, and Michael

 Tennon filed their complaint against Defendants the City of Detroit ("Detroit"),

 Lynn Moore, and John Doe Officers 1–10. ECF 1. Plaintiffs later amended their

 complaint and named the John Doe officers: Adam Sklarski, C. Moreau, J. Hebner,

 Roy Harris, Jeffery Wawrzyniak, William Morrison, Joseph Castro, Bashawn

 Gaines, Sadie Howell, and Ryan Paul ("Officer Defendants"). ECF 12. Plaintiffs

 sued the Officer Defendants in both their official and individual capacities. ECF 12,

 PgID 106–07. They brought the thirteen claims under 42 U.S.C. § 1983 for violations

 of their civil rights.

        They alleged that on April 25, 2014, Moore and Harris (1) unlawfully searched

 Tennon's home and (2) unlawfully seized Tennon's personal property. Id. at 119–20.

 They further alleged that on January 26, 2016: (3) Sklarski maliciously prosecuted

 Tennon by issuing citations for no license and no insurance; (4) Moore maliciously

 prosecuted Tennon by charging him with loitering; and Moore, Sklarski, Moreau and


                                          1
Case 2:17-cv-13877-SJM-MKM ECF No. 40, PageID.1008 Filed 07/25/19 Page 2 of 15




 Hebner (5) unlawfully detained or arrested Tennon, (6) unlawfully detained or

 arrested Eldreed Berry, (7) unlawfully searched Eldreed Berry's person, (8)

 unlawfully searched Tennon's person, (9) unlawfully searched Ruth Berry's vehicle,

 (10) unlawfully seized Ruth Berry's vehicle, and (11) unlawfully seized Tennon's cash.

 Id. at 120–24. Finally, they allege that on August 15, 2016, Harris, Wawrzyniak,

 Morrison, Castro, Gaines, Howell, and Paul (12) unlawfully entered Eldreed Berry's

 home and (13) unlawfully seized his money. Id. at 124–25.

       On October 15, 2018, the Clerk of the Court entered default against Defendant

 Moreau. ECF 30. On January 10, 2019, Defendants filed a motion for summary

 judgment. ECF 33. The Court has reviewed the briefs and finds that a hearing is

 unnecessary. See E.D. Mich. LR 7.1(f)(2). For the reasons below, the Court will grant

 Defendants' motion for summary judgment.

                                   BACKGROUND1

       On April 25, 2014, Defendant Moore and other officers executed a search

 warrant at 19745/19751 Biltmore. ECF 33-2, PgID 505; see also id. at 511–513 (search

 warrant). Plaintiff Tennon is the owner of 19745 Biltmore. See ECF 1-1, PgID 29. The

 affiant to the search warrant affidavit stated that, on April 24, he observed five drug

 transactions in twenty-five minutes at the location. ECF 33-2, PgID 512. Nobody was

 present when officers executed the search warrant. Id. at 505. Officers recovered

 empty "ziplock[]" bags "used for marijuana packaging." Id. Officers described the bags



 1The Court reads the evidence in the light most favorable to Plaintiffs, the nonmoving
 parties. The fact summary does not constitute a finding of fact.



                                           2
Case 2:17-cv-13877-SJM-MKM ECF No. 40, PageID.1009 Filed 07/25/19 Page 3 of 15




 as one bag holding several smaller bags. Id. at 506. The inside bags were about the

 size of a quarter. ECF 34-2, PgID 620. Moore had seen this type of small bag used

 only for drugs. Id.

       On January 26, 2016, Defendants Moore, Szklarski, Moreau, and Hebner were

 traveling through a "special attention high narcotics area" when they observed a man

 named Jeremiah Rhodes approaching a 2005 silver Kia Sorrento—parked, but

 running—at 19745 Biltmore; Plaintiff Tennon sat in the driver's seat. ECF 1-2, PgID

 31. The car was parked on the driveway, blocking the sidewalk. ECF 34-2, PgID 638.

 Moore observed Rhodes holding a Ziploc bag of marijuana and Tennon holding cash.

 ECF 1-2, PgID 31. Moore concluded, based on his training and experience and

 performance of raids at the location, that Rhodes and Tennon were attempting a drug

 transaction. Id. Officers apprehended both men. ECF 33-3, PgID 516-17. Moore cited

 Rhodes for marijuana possession and confiscated six baggies of marijuana from

 Rhodes. ECF 1-2, PgID 31; ECF 34-2, PgID 639–40.

       There was an open container of alcohol in the vehicle. ECF 1-2, PgID 31. Moore

 cited Tennon for "loitering in a place of illegal occupation, a known narcotics location."

 ECF 1-1, PgID 23. Tennon was also cited for having no insurance and no license. ECF

 34-13, 34-14. Detroit police confiscated the Kia Sorrento for forfeiture proceedings

 and $579 in cash. ECF 1-2, PgID 31.

       Plaintiff Ruth Berry acknowledged the notice of seizure of the Kia Sorrento.

 ECF 4-3. On September 9, 2016, the Wayne County Circuit Court entered a consent




                                             3
Case 2:17-cv-13877-SJM-MKM ECF No. 40, PageID.1010 Filed 07/25/19 Page 4 of 15




 judgment of forfeiture in the matter concerning the Kia Sorrento and $579 in cash.

 ECF 4-6.

         Rhodes pleaded guilty to his drug offense. ECF 33-5, PgID 539. Tennon's

 charges were dismissed because Lynn did not appear at the evidentiary hearing. See

 ECF 33, PgID 497; ECF 34-2, PgID 643–44.

         Tennon declared in an affidavit that he was merely hanging out with friends

 and was not engaging in illegal activity. ECF 34-3, PgID 692. Eldreed Berry also

 stated in an affidavit that he was present outside Tennon's residence during the

 January 26, 2016 incident and was arrested and searched. ECF 34-4.2

         On August 15, 2016, Defendants Harris, Wawrzyniak, Morrison, Gaines,

 Howell, and Paul executed a narcotic search warrant at 19484 Gilchrist and

 confiscated $344 in cash. ECF 12-7, PgID 149; ECF 12-8, PgID 150; see also ECF 33-

 4, PgID 534–36 (search warrant).3 Defendant Castro stated in the search warrant

 affidavit that he had observed a controlled transaction two days before the search

 warrant was executed. See ECF 33-4, PgID 534–36; ECF 34-15, PgID 976–77 (activity

 log). Plaintiff Eldreed Berry and other individuals, including minors, were at the

 Gilchrist residence at the time. ECF 12-7, PgID 149. Officers forced entry into the

 home after receiving no response when they announced their presence. ECF 12-8,




 2 Plaintiffs argue that police found "no marijuana" on "Mr. Berry or Mr. Tennon"
 during the January 26, 2016 incident. ECF 34, PgID 553. The police report shows
 that police found six baggies of marijuana on Rhodes's person. The alleged attempted
 transaction had not yet taken place when police intervened.

 3   Defendant Castro was in training. ECF 12-7, PgID 149; ECF 34-6, PgID 720–21.


                                          4
Case 2:17-cv-13877-SJM-MKM ECF No. 40, PageID.1011 Filed 07/25/19 Page 5 of 15




 PgID 150. Eldreed Berry now asserts that he is not a drug dealer and that drugs are

 not sold in his home on Gilchrist. ECF 34-4, PgID 696.

        Plaintiffs seem to allege that the affidavits supporting the search warrants

 were falsified, ECF 12, PgID 118, but they do not point to evidence showing that the

 relevant search warrants were falsified.

        On May 11, 2016, Plaintiff Tennon filed a FOIA request that asked for Detroit

 police records concerning 19745 Biltmore and Rhodes;4 the government responded on

 October 27, 2016. ECF 34-1. Plaintiff Tennon alleges that he did not know that his

 home was searched on April 15, 2014 in his absence until he received the results of

 his FOIA request. ECF 34, PgID 549. Detroit Police's interview notes, however,

 suggest that Tennon was aware of the search shortly after it took place because he

 filed a complaint about it. See ECF 35, PgID 997.

                               STANDARD OF REVIEW

        The Court may grant summary judgment "if the movant shows that there is no

 genuine dispute as to any material fact and the movant is entitled to judgment as a

 matter of law." Fed. R. Civ. P. 56(a). In order to show that a fact is, or is not, genuinely

 disputed, both parties are required to either "cit[e] to particular parts of materials in

 the record" or "show[] that the materials cited do not establish the absence or

 presence of a genuine dispute, or that an adverse party cannot produce admissible

 evidence to support the fact." Fed. R. Civ. P. 56(c)(1).




 4The FOIA request does not request records related to 19751 Biltmore. ECF 34-1,
 PgID 572.


                                              5
Case 2:17-cv-13877-SJM-MKM ECF No. 40, PageID.1012 Filed 07/25/19 Page 6 of 15




        A fact is "material" for purposes of summary judgment if proof of that fact

 would establish or refute an essential element of the cause of action or defense.

 Kendall v. Hoover Co., 751 F.2d 171, 174 (6th Cir. 1984). A dispute over material facts

 is "genuine" "if the evidence is such that a reasonable jury could return a verdict for

 the nonmoving party." Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The

 Court may not judge the evidence or make findings of fact. 60 Ivy St. Corp. v.

 Alexander, 822 F.2d 1432, 1435–36 (6th Cir. 1987).

        The moving party has the burden of showing that no genuine issue of material

 fact exists. Id. at 1435. Once the moving party carries the initial burden of

 demonstrating that there are no genuine issues of material fact, the burden shifts to

 the nonmoving party to present specific facts to prove that there is a genuine issue

 for trial. Anderson, 477 U.S. at 256.

                                     DISCUSSION

 I.     Statute of Limitations

        Defendant argues that the relevant statute of limitations prevents Plaintiff

 Tennon from bringing his claims related to the April 25, 2014 search. ECF 33, PgID

 490.

        The proper limitations period for a § 1983 action is the limitations period for

 personal injury actions in the state in which the claim arises. Kuhnle Bros., Inc. v.

 Cty. of Geauga, 103 F.3d 516, 519 (6th Cir. 1997) (citing Wilson v. Garcia, 471 U.S.

 261 (1985)). For § 1983 actions arising in Michigan, federal courts typically borrow

 the state's three-year statute of limitations for personal injury actions. Wolfe v. Perry,

 412 F.3d 707, 714 (6th Cir. 2005) (citation omitted). The statute of limitations for


                                             6
Case 2:17-cv-13877-SJM-MKM ECF No. 40, PageID.1013 Filed 07/25/19 Page 7 of 15




 claims alleging unlawful search and seizure runs from the time of injury, "when the

 plaintiff becomes aware of" the alleged violation. Id. (citation omitted).

       As detailed above, Plaintiff Tennon and Defendants offer conflicting accounts

 of Tennon's knowledge of the April 25, 2014 search. Plaintiff does not provide

 evidence that he did not know about the April 25, 2014 search until he received his

 FOIA records. Meanwhile, records suggest that Plaintiff made a complaint about the

 search shortly after it happened. ECF 35, PgID 997. Therefore, the statute of

 limitations bars Plaintiff Tennon's claims regarding April 25, 2014. But even if his

 April 24, 2014 claims were not barred, Plaintiffs cannot establish Defendants'

 liability, as explained further below.

 II.   Detroit's Liability under § 1983

       Defendants next argue that Detroit cannot be held liable because Plaintiffs do

 not show that the alleged constitutional deprivations occurred pursuant to a

 municipal policy or custom. ECF 33, PgID 485–86.

       Local governments cannot be held liable under a theory of respondeat superior.

 Monell v. Dep't of Soc. Servs. of New York, 436 U.S. 658, 691 (1978). A municipality

 can be liable under 42 U.S.C. § 1983 only if its policy or custom—whether made by

 its lawmakers or by those whose "edicts or acts may fairly be said to represent official

 policy"—inflicts injury. Id. at 694. Local governments can be sued for constitutional

 deprivations pursuant to governmental custom even if the custom was not formally

 approved. Id. at 690–91. If the custom was not formally approved, Plaintiff must

 "prove the existence of a widespread practice that . . . is so permanent and well settled




                                            7
Case 2:17-cv-13877-SJM-MKM ECF No. 40, PageID.1014 Filed 07/25/19 Page 8 of 15




 as to constitute a custom or usage with the force of law." Cash v. Hamilton Cty. Dep't

 of Adult Prob., 388 F.3d 539, 543 (6th Cir. 2004) (quoting Monell, 436 U.S. at 691).

       A plaintiff can show the existence of an illegal policy or custom by

 demonstrating one of the following:

              (1) the existence of an illegal official policy or legislative
              enactment; (2) that an official with final decision making
              authority ratified illegal actions; (3) the existence of a
              policy of inadequate training or supervision; or (4) the
              existence of a custom of tolerance or acquiescence of federal
              rights violations."

 Burgess v. Fischer, 735 F.3d 462, 478 (6th Cir. 2013) (citing Thomas v. Chattanooga,

 398 F.3d 426, 429 (6th Cir. 2005)).

       When a municipal liability claim is premised on an "inaction theory," plaintiff

 must prove: (1) the existence of a clear and persistent pattern of violating federal

 rights; (2) the municipality had notice or constructive notice; (3) the municipality

 tacitly approved of the unconstitutional conduct, "such that their deliberate

 indifference in failing to act" amounted "to an official policy of inaction," and (4) that

 the municipality's custom was the "direct causal link" for the constitutional

 deprivation. Doe v. Claiborne Cty. ex rel. Claiborne Cty. Bd. of Educ., 103 F.3d 495,

 508 (6th Cir. 1996).

       Any suit for damages against officials in their official capacity is a suit for

 damages against their government employer. See Monell, 436 U.S. at 690 n.55.

       Plaintiffs maintain that Detroit has a policy of allowing officers to make

 "material misrepresentations" on their sworn affidavits. ECF 34, PgID 558. They

 point to an unrelated case—involving none of the Plaintiffs—in which Defendant



                                             8
Case 2:17-cv-13877-SJM-MKM ECF No. 40, PageID.1015 Filed 07/25/19 Page 9 of 15




 Moore had submitted an affidavit in support of a search warrant. Id. Moore stated in

 the affidavit that he performed surveillance on November 25, 2014, even though he

 wasn't working that day. Id. at 558–59. Plaintiffs' argument is not well-taken. In his

 deposition, Moore explained that he stated the wrong date in error and he had worked

 to correct the error with Internal Affairs. ECF 34-2, PgID 665–67. A reasonable jury

 would not find that Moore's misstatement of a date—and subsequent correction of

 it—would constitute a material misrepresentation that Detroit allowed as a matter

 of custom or policy. It also would not find that Plaintiffs have demonstrated that

 Detroit had a clear and consistent pattern of violating rights.

        Plaintiffs also argue that Detroit fails to ensure that officers understand its

 policy on seizures and forfeitures. ECF 34, PgID 559. The argument is unconvincing.

 Defendant Harris, for example, knew there was a policy, recalled reading it, and knew

 that Detroit required officers to read it. ECF 34-8, PgID 815–16. He did not actually

 discuss the policy with his supervisor. Id. at 855–56. But without more, a reasonable

 jury could not find that Detroit's training was inadequate.

        Because Plaintiffs do not show an unconstitutional custom or policy, Detroit

 cannot be held liable. Monell, 436 U.S. at 690. And because a suit for damages against

 the officers in their official capacity is a suit for damages against Detroit, Monell, 436

 U.S. at 690 n.55, Officer Defendants may not be held liable for Plaintiffs' claims in

 their official capacities.




                                             9
Case 2:17-cv-13877-SJM-MKM ECF No. 40, PageID.1016 Filed 07/25/19 Page 10 of 15




 III.   Officers' Liability Under § 1983 in their Individual Capacities

        Defendants argue that Officer Defendants hold qualified immunity from suit.

 ECF 33, PgID 486.

        "[Q]ualified immunity [is] a defense available only to individual government

 officials sued in their personal capacity." United Pet Supply, Inc. v. Chattanooga, 768

 F.3d 464, 484 (6th Cir. 2014). The qualified-immunity doctrine "'shield[s]' public

 officials from money-damages liability if 'their conduct does not violate clearly

 established statutory or constitutional rights of which a reasonable person would

 have known.'" Citizens in Charge, Inc. v. Husted, 810 F.3d 437, 440 (6th Cir. 2016)

 (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). "Qualified immunity 'gives

 ample room for mistaken judgments' by protecting 'all but the plainly incompetent or

 those who knowingly violate the law.'" Chappell v. City of Cleveland, 585 F.3d 901,

 907 (6th Cir. 2009) (quoting Hunter v. Bryant, 502 U.S. 224, 229 (1991)). "Plaintiff

 bears the burden of showing that defendants are not entitled to qualified immunity."

 Id. at 907 (citation omitted). To defeat qualified immunity, the plaintiff must

 establish that "a constitutional right was violated and that the right was clearly

 established." Id. The Court looks "first to decisions of the Supreme Court, then to

 decisions of [the Sixth Circuit] and other courts within our [C]ircuit, and finally to

 decisions of other circuits" to determine whether a right is clearly established.

 Thomas v. Cohen, 304 F.3d 563, 580 (6th Cir. 2002) (quotations omitted).

        Regarding Plaintiffs' claims against Officer Defendants in their individual

 capacity, Defendants argue that the searches and seizures in each of the three




                                           10
Case 2:17-cv-13877-SJM-MKM ECF No. 40, PageID.1017 Filed 07/25/19 Page 11 of 15




 instances are supported by probable cause. ECF 33, PgID 496. Under the Fourth

 Amendment, searches and seizures must be supported by probable cause. U.S. Const.

 amend. IV. "Probable cause exists where 'the facts and circumstances within [an

 officer's] knowledge and of which [he] had reasonably trustworthy information (are)

 sufficient in themselves to warrant a man of reasonable caution in the belief that' an

 offense has been or is being committed." Brinegar v. United States, 338 U.S. 160, 175–

 76 (1949) (quoting Carroll v. United States, 267 U.S. 132, 162 (1925)). "An affidavit

 must provide the [judge] with a substantial basis for determining the existence of

 probable cause[.]” Illinois v. Gates, 462 U.S. 213, 239 (1983) (citation omitted).

       Plaintiffs allege that the January 25, 2014 and August 15, 2016 searches and

 seizures are unlawful because officers falsified the affidavits supporting the search

 warrants. ECF 34, PgID 548. An officer may be liable under § 1983 if the officer

 "knowingly or in reckless disregard for the truth" makes "material false statements"

 and the statements "establish probable cause for an arrest." Vakilian v. Shaw, 335

 F.3d 509, 517 (6th Cir. 2003) (citation omitted). If they are proceeding under that

 theory to overcome an officer's qualified immunity, plaintiffs must make a

 "substantial showing" that the officer "stated a deliberate falsehood or showed

 reckless disregard for the truth." Id. (citation omitted).

       Plaintiffs argue that the information in the affidavit supporting the April 25,

 2014 search is false. Specifically, Plaintiffs contest the veracity of the affiant's

 statement that police seized 21 grams of marijuana on April 2, 2014. ECF 33-2,

 PgID 511–513; ECF 34, PgID 550. To support their falsification theory, Plaintiffs




                                            11
Case 2:17-cv-13877-SJM-MKM ECF No. 40, PageID.1018 Filed 07/25/19 Page 12 of 15




 allege that their FOIA records request turned up no corroborating documentation

 for the April 2, 2014 raid. ECF 34, PgID 550. Without more, Plaintiffs' pointing to

 mere absence of a record is unconvincing. The absence of a document is much less

 probative than affirmative evidence. Plaintiffs do not present additional evidence,

 such as a discrepancy in the police's activity logs on April 2, 2014, or a record

 showing where the affiant officer was. Without more proof, the Court does not find

 a genuine dispute of material fact that Defendants' April 25, 2014 search violated

 clearly established law.

        Regarding the August 15, 2016 incident, Plaintiffs allege that the search and

 seizure of money occurred for no legal reason. ECF 34, PgID 569. The argument is

 unconvincing. Castro's affidavit in support of the search warrant stated that he

 witnessed a controlled buy by a confidential informant on August 13, 2016. ECF 33-

 4, PgID 534–36.

        Plaintiffs allege further that a reasonable jury could find that Defendant

 Castro falsified his statement that he witnessed a controlled buy because "[the

 controlled buy] is not listed in the activity log" and because the activity log does not

 show that the confidential informant exists. ECF 34, PgID 569. But the activity log

 clearly shows Castro asking the confidential informant to conduct a controlled buy of

 marijuana on August 13, 2016. ECF 34-15, PgID 977. Absent other evidence, a

 reasonable jury would not find that Castro falsified his account of the controlled buy

 in his affidavit.




                                           12
Case 2:17-cv-13877-SJM-MKM ECF No. 40, PageID.1019 Filed 07/25/19 Page 13 of 15




        According to the evidence, the searches and seizures (of either cash or possible

 drug paraphernalia) on April 25, 2014 and August 15, 2016 were executed pursuant

 to warrants supported by probable cause. Officer Defendants therefore did not violate

 clearly established constitutional rights and are entitled to qualified immunity as to

 those incidents.

        Plaintiffs also fail to show genuine issues of material fact regarding whether

 Officer Defendants violated clearly established constitutional rights during the

 January 26, 2016 incident. Tennon was sitting in the car when Defendants observed

 him and Rhodes attempting a drug transaction. ECF 1-2, PgID 31. The car was

 running at the time and was parked in the driveway, blocking the sidewalk. Id.

 Operation of a vehicle requires insurance and licensing. Plaintiffs' claim that

 Defendants maliciously prosecuted Tennon by issuing him loitering, no-insurance,

 and no-license violations is therefore contrary to the evidence. ECF 34, PgID 566–68

 (Plaintiffs' claims).

        Plaintiffs' allegation that there was no probable cause supporting Tennon's and

 Eldreed Berry's arrest or the search and seizure of the cash and Kia Sorrento on

 January 26, 2016 is also contrary to the record evidence. According to the evidence,

 officers believed they observed an attempted drug transaction. In that scenario,

 probable cause could support arrest, search, and seizure of drugs, cash, and the

 vehicle in which the transaction was about to occur.

        For the purposes of resolving the summary judgment motion, the Court accepts

 as true Tennon's assertion that he was not engaging in illicit activity and Eldreed




                                           13
Case 2:17-cv-13877-SJM-MKM ECF No. 40, PageID.1020 Filed 07/25/19 Page 14 of 15




 Berry's statement that he was also present, not engaging in illegal activity, and was

 handcuffed. Even assuming those facts are true, officers did not violate clearly

 established constitutional law. They observed Rhodes, marijuana in hand,

 approaching Tennon, who had cash in his hand. Rhodes pleaded guilty to his drug

 offense; the evidence does not support the possibility that officers fabricated the

 entire incident.

       Plaintiffs seem to assert that Tennon's and Eldreed Berry's statements render

 the officers' perceptions false, and therefore no probable cause existed. Not so. If

 Tennon's account is true, then Rhodes was not approaching him to undergo a drug

 transaction. But it was reasonable for officers—seeing Rhodes walk in Tennon's

 direction with drugs and seeing Tennon with cash—to conclude that a transaction

 was about to occur and take steps to arrest the men and seize the drugs, cash, and

 vehicle where they believed the transaction would occur. They did not violate clearly

 established constitutional law by doing so. Similarly, if Eldreed Berry's account—that

 he was present and was handcuffed despite not engaging in illegal activity—is true,

 it would still be reasonable for officers to apprehend and search the persons of all

 parties present to an apparent impending drug transaction.

       Plaintiffs do not raise a genuine issue of material fact as to whether Officer

 Defendants violated clearly established constitutional law. They therefore cannot

 overcome the Officer Defendants' qualified immunity.




                                          14
Case 2:17-cv-13877-SJM-MKM ECF No. 40, PageID.1021 Filed 07/25/19 Page 15 of 15




         The Clerk of the Court has already entered default judgment against

 Defendant Moreau. ECF 30. The Court will now enter summary judgment in favor of

 Detroit and the remaining Officer Defendants.

                                      ORDER

         WHEREFORE, it is hereby ORDERED that Defendants' motion for

 summary judgment [33] is GRANTED as to Defendants the City of Detroit, Lynn

 Moore, Adam Sklarski, J. Hebner, Roy Harris, Jeffery Wawrzyniak, William

 Morrison, Joseph Castro, Bashawn Gaines, Sadie Howell, and Ryan Paul.

         IT IS FURTHER ORDERED that the Clerk of the Court shall CLOSE the

 case.

         SO ORDERED.

                                       s/ Stephen J. Murphy, III
                                       STEPHEN J. MURPHY, III
                                       United States District Judge
 Dated: July 25, 2019

 I hereby certify that a copy of the foregoing document was served upon the parties
 and/or counsel of record on July 25, 2019, by electronic and/or ordinary mail.

                                       s/ David P. Parker
                                       Case Manager




                                         15
